70 F.3d 117
    NOTICE: Seventh Circuit Rule 53(b)(2) states unpublished orders shall not be cited or used as precedent except to support a claim of res judicata, collateral estoppel or law of the case in any federal court within the circuit.Michael J. McKINLEY, Petitioner-Appellant,v.UNITED STATES OF America, Respondent-Appellee.
    No. 95-1359.
    United States Court of Appeals, Seventh Circuit.
    Submitted Nov. 3, 1995.*Decided Nov. 3, 1995.
    
      Before BAUER, COFFEY and EASTERBROOK, Circuit Judges.
    
    ORDER
    
      1
      After reviewing the record, we AFFIRM for the reasons stated in the district court opinion of January 12, 1995.
    
    
      
        *
         After preliminary examination of the briefs, the court notified the parties that it had tentatively concluded that oral argument would not be helpful to the court in this case.  The notice provided that any party might file a "Statement as to Need of Oral Argument."   See Fed.R.App.P. 34(a);  Cir.R. 34(f).  No such statement having been filed, the appeal is submitted on the briefs and record
      
    
    